

People v Cabrera (2025 NY Slip Op 01874)





People v Cabrera


2025 NY Slip Op 01874


Decided on March 27, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 27, 2025

Before: Moulton, J.P., Gesmer, Scarpulla, Rosado, Michael, JJ. 


Ind No. 388/19|Appeal No. 3985|Case No. 2019-05291|

[*1]The People of the State of New York, Respondent,
vHector Cabrera, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Nathan R. Brown of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Brian Witthuhn of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Steven Hornstein, J.), rendered September 24, 2019, convicting defendant, upon his plea of guilty, of attempted robbery in the third degree, and sentencing him, as a second felony offender, to a term of 1½ to 3 years, unanimously affirmed.
Defendant's challenge to the grand jury proceeding based on the prosecutor's mischaracterization of his video-recorded statement goes to the sufficiency of the evidence in support of the indictment and therefore was forfeited upon his guilty plea (People v Hansen, 95 NY2d 227, 232 [2000]). Furthermore, "[r]egardless of whether defendant validly waived his right to appeal, by pleading guilty, defendant forfeited review of his claim that prosecutorial misconduct impaired the integrity of the grand jury proceedings" (People v Correa, 228 AD3d 409, 410 [1st Dept 2024], lv denied 42 NY3d 1079 [2025]). In any event, although the prosecutor's mischaracterization of defendant's earlier statement was improper, defendant had an opportunity to answer the prosecutor's question and deny making that earlier statement; thus, the prosecutor's conduct "did not rise to the level of impairment of the integrity of the proceedings" (id.).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 27, 2025








